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NOR'HH
IN THE UNITED STATES DISTRICT COURT
FOR THE NGRTHERN DISTRICT CF 1 EXAS

    

 

 

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UNITED sTATEs oF AMERICA C;;RK, U.s. §.:@ii§§“§?€o:;Rr
Uog:uty

v. No. 4:17-CR-187-Y

 

DAVID ALLEN DEVANEY, JR. (0 l)

PLEA AGREEMENT WITH WAIVER OF APPEAL

David Allen Devaney, Jr. (“Defendant”), Brian Poe, the defendant’s attorney, and
the United States of America (“Government”), agree as follows:
l. Rights of Defendant: Defendant understands that he has the right
a. to plead not guilty;
b. to have a trial by jury;
c. to have his guilt proven beyond a reasonable doubt;

d. to confront and cross-examine witnesses and to call Witnesses in his
defense; and

e. against compelled self-incrimination
2. Waiver of Rights and Plea of Guiltv: Defendant Waives these rights and
pleads guilty to the offense alleged in Count One of the Superseding Information,
311 V“
charging a violation of 18 U.S.C. § H(‘)’, that is, Conspiracy to Distribute a Controlled
Substance. The defendant understands the nature and elements of the crime to Which he is

pleading guilty, and agrees that the factual resume he has signed is true and Will be

submitted as evidence.

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3. Sentence: The penalties the Court can impose include:

a. imprisonment for not more than five (5);
b. a fine not to exceed $250,000;

c. a mandatory term of supervised release of not more than three (3)
years, which may be mandatory under the law and will follow any
term of imprisonment If the defendant violates any condition of the
terms of supervised release, the Court may revoke such release term
and require that the defendant serve an additional period of

confinement;
d.. a mandatory special assessment of $100;
e. restitution to victims or to the community, which may be mandatory

under the law, and which Defendant agrees may include restitution
arising from all relevant conduct, not limited to that arising from the
offense of conviction alone; and

f. costs of incarceration and supervision; and

g. forfeiture of property.

4. Court’s Sentencing Discretion and Role of the Guidelines: Defendant
understands that the sentence in this case will be imposed by the Court after consideration
of the United States Sentencing Guidelines. The guidelines are not binding on the Court,
but are advisory only. Defendant has reviewed the guidelines with his attorney, but
understands no one can predict with certainty the outcome of the Court’s consideration of
the guidelines in this case. Defendant will not be allowed to withdraw his plea if his
sentence is higher than expected. Defendant fully understands that the actual sentence

imposed (so long as it is within the statutory maximum) is solely in the Court’s

discretion.

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5. Mandatorv special assessment Defendant agrees to pay to the U.S. District
Clerk the amount of $lOO.(iO, in satisfaction of the mandatory special assessment in this
case.

6. Defendant’s agreement Defendant shall give complete and truthful
information and/or testimony concerning his participation in the offense of conviction.
Upon demand, Defendant shall submit a personal financial statement under oath and
submit to interviews by the government and the U.S. Probation Offlce regarding his
capacity to satisfy any fines or restitution.

7. Government’s Agreement: The government will not bring any additional
charges against Defendant based upon the conduct underlying and related to the
Defendant’s plea of guilty. The government will dismiss, after sentencing, any remaining
charges in the pending Indictment. This agreement is limited to the United States
Attorney’s Offlce for the Northern District of TeXas and does not bind any other federal,
state, or local prosecuting authorities, nor does it prohibit any civil or administrative
proceeding against Defendant or any property.

8. Violation of Agreement: Defendant understands that if he violates any
provision of this agreement, or if his guilty plea is vacated or withdrawn, the government
will be free from any obligations of the agreement and free to prosecute Defendant for all
offenses of which it has knowledge. In such event, Defendant waives any objections

based upon delay in prosecution.

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If the plea is vacated or withdrawn for any reason other than a finding that it was
involuntary, Defendant waives objection to the use against him of any information or
statements he has provided to Government and any resulting leads.

9. Voluntary Plea: This plea of guilty is freely and voluntarily made and is
not the result of force or threats, or of promises apart from those set forth in this plea
agreement There have been no guarantees or promises from anyone as to what sentence
the Court will impose.

z l(). Waiver of right to appeal or otherwise challenge sentencer Defendant
waives his rights, conferred by 28 U.S.C. § 1291 and 18 U.S.C. § 3742, to appeal from
his conviction and_ sentence. He further waives his right to contest his conviction and
sentence in any collateral proceeding, including proceedings under 28 U.S.C. § 2241 and
28 U.S.C. § 2255. Defendant, however, reserves the rights (a) to bring a direct appeal of
(i) a sentence exceeding the statutory maximum punishment, or (ii) an arithmetic error at
sentencing, (b) to challenge the voluntariness of his plea of guilty or this waiver, and (c)
to bring a claim of ineffective assistance of counsel.

ll. Representation of Counsel: Defendant has thoroughly reviewed all legal

 

and factual aspects of this case with his lawyer and is fully satisfied with that lawyer’s
legal representation Defendant has received from his lawyer explanations satisfactory to
him concerning each paragraph of this plea agreement, each of his rights affected by this
agreement, and the alternatives available to him other than entering into this agreement

Because he concedes that he is guilty, and after conferring with his lawyer, Defendant has

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concluded that it is in his best interest to enter into this plea agreement, and all of its

terms, rather than to proceed to trial in this case.

12. Entirety of Agreement: This document is a complete statement of the

parties’ agreement and may not be modified unless the modification is in writing and

signed by all parties.

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AGREED To AND sIGNEDrhiS 6 day of §-/a~~¢¢¢.»- ,2018.

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invID ALLEN DEvANEY\L R
Defendant

 

BRIAN P()E
Attorney for Defendant

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ERIN NEALY COX
UNITED STATES ATTORNEY

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Deputy Criminal Chief

